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                IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                            WESTERN DIVISION




UNITED STATES OF AMERICA

vs.                                             NO. 4:10CR00097-002 SWW

BERTHA HERNANDEZ



                                        ORDER

      Pending    before   the   Court    is   government's     motion    to   dismiss

indictment against defendant, Bertha Hernandez, pursuant to Rule 48(a)

of the Federal Rules of Criminal Procedure.

      IT IS SO ORDERED that the government’s motion to dismiss indictment

against the above-named defendant be GRANTED, and the indictment pending

against   defendant   Bertha    Hernandez     is   dismissed   without    prejudice.

      DATED this 31st day of March 2011.



                                                /s/Susan Webber Wright

                                                UNITED STATES DISTRICT JUDGE
